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 8

 9                          UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA

11
     ALBERT CHOW, Individually and On
12                                                  Case No.
     Behalf of All Others Similarly Situated,
13
                                Plaintiff,
14                                                  CLASS ACTION
15                        v.
                                    COMPLAINT FOR VIOLATIONS
16                                  OF THE FEDERAL SECURITIES
     ENOCHIAN BIOSCIENCES INC.,
17   MARK DYBUL, LUISA PUCHE, RENÈ LAWS
     SINDLEV, CAROL L. BROSGART,
18
     GREGG ALTON, JAMES SAPIRSTEIN, DEMAND FOR JURY TRIAL
19   CARL SANDLER, HENRIK
20
     GRØNFELDT-SØRENSEN, JAYNE
     MCNICOL, and EVELYN D’AN,
21

22
                                Defendants.

23

24         Plaintiff Albert Chow (“Plaintiff”), individually and on behalf of all others

25   similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint
26
     against Defendants, alleges the following based upon personal knowledge as to
27

28   Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters,

                                                1
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 1   based upon, inter alia, the investigation conducted by and through Plaintiff’s
 2
     attorneys, which included, among other things, a review of the Defendants’ public
 3

 4   documents, conference calls and announcements made by Defendants, United

 5   States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and
 6
     press releases published by and regarding Enochian Biosciences Inc. (“Enochian”
 7

 8   or the “Company”), analysts’ reports and advisories about the Company, and

 9   information readily obtainable on the Internet. Plaintiff believes that substantial,
10
     additional evidentiary support will exist for the allegations set forth herein after a
11

12   reasonable opportunity for discovery.

13                              NATURE OF THE ACTION
14
            1.     This is a federal securities class action on behalf of a class consisting
15

16   of all persons and entities other than Defendants that purchased or otherwise
17   acquired Enochian securities between September 24, 2020 and May 31, 2022, both
18
     dates inclusive (the “Class Period”), seeking to recover damages caused by
19
20   Defendants’ violations of the federal securities laws and to pursue remedies under
21   Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange
22
     Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of
23

24   its top officials.
25          2.     Enochian is a pre-clinical stage biotechnology company that
26
     purportedly researches and develops pharmaceutical and biological products for the
27

28

                                                2
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 1   human treatment of human immunodeficiency virus (“HIV”), hepatitis B virus
 2
     (“HBV”), influenza and coronavirus infections, and cancer.
 3

 4         3.    Enochian and its top management have credited Serhat Gumrukcu

 5   (“Gumrukcu”), Enochian’s co-founder and largest shareholder, as a “genius” and
 6
     the “inventor” of the technology and science behind the Company’s product
 7

 8   pipeline.

 9         4.    Enochian has multiple consulting and licensing agreements with G-
10
     Tech Bio, LLC, a California limited liability company (“G-Tech”), and G Health
11

12   Research Foundation, a not-for-profit entity organized under the laws of California

13   doing business as Seraph Research Institute (“SRI”), both of which are controlled
14
     by Gumrukcu.
15

16         5.    Throughout the Class Period, Defendants made materially false and
17   misleading statements regarding the Company’s business, operations, and
18
     compliance policies.    Specifically, Defendants made false and/or misleading
19
20   statements and/or failed to disclose that: (i) Gumrukcu was not a licensed doctor
21   and had no verifiable degrees beyond high school; (ii) accordingly, the scientific
22
     and technological underpinnings of Enochian’s product pipeline, purportedly
23

24   invented by Gumrukcu, were dubious at best; (iii) accordingly, the Defendants had
25   significantly overstated the commercial prospects for the Company’s product
26
     pipeline; (iv) Enochian’s senior leadership knew Gumrukcu had a criminal history
27

28   that included fraud; (v) accordingly, Enochian’s reliance on Gumrukcu, and its
                                              3
            CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1   consulting and licensing agreements with G-Tech and SRI, subjected the Company
 2
     to a heightened risk of reputational and financial harm, as well as threatened the
 3

 4   integrity of the Company’s scientific findings; and (vi) as a result, the Company’s

 5   public statements were materially false and misleading at all relevant times.
 6
           6.     On May 25, 2022, the U.S. Department of Justice (“DOJ”) announced
 7

 8   that Gumrukcu had been arrested and charged in a murder-for-hire conspiracy.

 9         7.     On this news, Enochian’s stock price fell $2.17 per share, or 36.97%,
10
     to close at $3.70 per share on May 25, 2022.
11

12         8.     Then, on June 1, 2022, Hindenburg Research (“Hindenburg”)

13   published a report on Enochian entitled “Miracle Cures and Murder For Hire: How
14
     A Spoon-Bending Turkish Magician Built A $600 Million Nasdaq-Listed Scam
15

16   Based On A Lifetime Of Lies” (the “Hindenburg Report”). The Hindenburg Report
17   noted that the individual in whose murder Gumrukcu was implicated, Gregory
18
     Davis, “was murdered . . . just 19 days before Gumrukcu was scheduled to appear
19
20   in court to defend himself against felony fraud allegations related to a 2016 deal
21   with Davis” and that “[f]ederal prosecutors argued that the prospective merger deal
22
     that eventually resulted in Enochian going public served as a key motive for the
23

24   murder.” The Hindenburg Report also stated that “[u]nbeknownst to investors (but
25   known to Enochian’s senior leadership) Gumrukcu’s latest arrest for a murder
26
     conspiracy is simply the most recent in a string of alleged crimes by Gumrukcu,”
27

28   who “was arrested based on accusations of falsely posing as a doctor” in his native
                                              4
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 1   Turkey in 2012 and “[i]n February 2017, Gumrukcu was arrested by authorities
 2
     after the State of California accused him of a slew of white-collar crimes, including
 3

 4   fraud, identity theft, and check kiting – a total of 14 felonies.” The Hindenburg

 5   Report further stated that “[w]e have been unable to find any jurisdiction in which
 6
     Gumrukcu is licensed as a medical doctor” and that “Gumrukcu looks to have
 7

 8   purchased a fake Russian medical degree on the black market[.]”

 9         9.     On this news, Enochian’s stock price fell $1.495 per share, or 28.42%,
10
     to close at $3.765 per share on June 1, 2022.
11

12         10.    As a result of Defendants’ wrongful acts and omissions, and the

13   precipitous decline in the market value of the Company’s securities, Plaintiff and
14
     other Class members have suffered significant losses and damages.
15

16                            JURISDICTION AND VENUE
17         11.    The claims asserted herein arise under and pursuant to Sections 10(b)
18
     and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
19
20   promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).
21         12.    This Court has jurisdiction over the subject matter of this action
22
     pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act.
23

24         13.    Venue is proper in this Judicial District pursuant to Section 27 of the
25   Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b).                Enochian is
26
     headquartered in this Judicial District, Defendants conduct business in this Judicial
27

28

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 1   District, and a significant portion of Defendants’ activities took place within this
 2
     Judicial District.
 3

 4         14.     In connection with the acts alleged in this complaint, Defendants,

 5   directly or indirectly, used the means and instrumentalities of interstate commerce,
 6
     including, but not limited to, the mails, interstate telephone communications, and
 7

 8   the facilities of the national securities markets.

 9                                         PARTIES
10
           15.     Plaintiff, as set forth in the attached Certification, acquired Enochian
11

12   securities at artificially inflated prices during the Class Period and was damaged

13   upon the revelation of the alleged corrective disclosures.
14
           16.     Defendant Enochian is a Delaware corporation with principal
15

16   executive offices located at 4142 Lankershim Boulevard, North Hollywood,
17   California 91602. Enochian’s common stock trades in an efficient market on the
18
     Nasdaq Stock Market (“NASDAQ”) under the trading symbol “ENOB”.
19
20         17.     Defendant Mark Dybul (“Dybul”) has served as Enochian’s Chief
21   Executive Officer (“CEO”) since July 2021. Prior to serving as the Company’s
22
     CEO, Dybul served as Executive Vice-Chair of Enochian’s Board of Directors (the
23

24   “Board”) at all relevant times.
25         18.     Defendant Luisa Puche (“Puche”) has served as Enochian’s Chief
26
     Financial Officer at all relevant times.
27

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            CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1         19.    Defendant Renè Sindlev (“Sindlev”) has served as Enochian’s
 2
     Chairman of the Board at all relevant times.
 3

 4         20.    Defendant Carol L. Brosgart (“Brosgart”) has served as a Director of

 5   Enochian at all relevant times.
 6
           21.    Defendant Gregg Alton (“Alton”) has served as a Director of Enochian
 7

 8   at all relevant times.

 9         22.    Defendant James Sapirstein (“Sapirstein”) has served as a Director of
10
     Enochian at all relevant times.
11

12         23.    Defendant Carl Sandler (“Sandler”) has served as a Director of

13   Enochian at all relevant times.
14
           24.    Defendant Henrik Grønfeldt-Sørensen (“Grønfeldt-Sørensen”) has
15

16   served as a Director of Enochian at all relevant times.
17         25.    Defendant Jayne McNicol (“McNicol”) has served as a Director of
18
     Enochian and Chair of Enochian’s audit committee since May 2021.
19
20         26.    Defendant Evelyn D’An (“D’An”) served as a Director of Enochian
21   from before the start of the Class Period to April 2021. D’An also previously served
22
     as the Chair of Enochian’s audit committee.
23

24         27.    Defendants Dybul, Puche, Sindlev, Brosgart, Alton, Sapirstein,
25   Sandler, Grønfeldt-Sørensen, McNicol, and D’An are sometimes referred to herein
26
     as the “Individual Defendants.”
27

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 1         28.    The Individual Defendants possessed the power and authority to
 2
     control the contents of Enochian’s SEC filings, press releases, and other market
 3

 4   communications.     The Individual Defendants were provided with copies of

 5   Enochian’s SEC filings and press releases alleged herein to be misleading prior to
 6
     or shortly after their issuance and had the ability and opportunity to prevent their
 7

 8   issuance or to cause them to be corrected. Because of their positions with Enochian,

 9   and their access to material information available to them but not to the public, the
10
     Individual Defendants knew that the adverse facts specified herein had not been
11

12   disclosed to and were being concealed from the public, and that the positive

13   representations being made were then materially false and misleading.           The
14
     Individual Defendants are liable for the false statements and omissions pleaded
15

16   herein.
17                          SUBSTANTIVE ALLEGATIONS
18
                                        Background
19
20         29.    Enochian is a pre-clinical stage biotechnology company that
21   purportedly researches and develops pharmaceutical and biological products for the
22
     human treatment of HIV, HBV, influenza and coronavirus infections, and cancer.
23

24         30.    Enochian and its top management have credited Gumrukcu,
25   Enochian’s co-founder and largest shareholder, as a “genius” and the “inventor” of
26
     the technology and science behind the Company’s product pipeline.
27

28

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 1         31.    Enochian has multiple consulting and licensing agreements with G-
 2
     Tech and SRI, both of which are controlled by Gumrukcu.
 3

 4    Materially False and Misleading Statements Issued During the Class Period

 5         32.    The Class Period begins on September 24, 2020, the day after
 6
     Enochian filed an annual report on Form 10-K with the SEC—signed by Defendants
 7

 8   Dybul, Puche, Sindlev, Grønfeldt-Sørensen, Sandler, Alton, D’An, Sapirstein, and

 9   Brosgart—reporting the Company’s financial and operational results for the
10
     Company’s fourth fiscal quarter and year ended June 30, 2020 (the “2020 10-K”).
11

12   Among other things, the 2020 10-K represented that “[w]e are a pre-clinical stage

13   biotechnology company committed to using our genetically modified cellular and
14
     immune-therapy technologies to prevent or potentially cure HIV, HBV and to
15

16   potentially provide life-long cancer remission of some of the deadliest cancers[,]”
17   and that “[w]e do this by genetically modifying, or re-engineering, different types
18
     of cells, depending on the therapeutic area and then injecting or reinfusing the re-
19
20   engineered cells back into the patient to provide treatment.”
21         33.    With respect to Gumrukcu’s importance to Enochian’s product
22
     pipeline and business prospects, the 2020 10-K stated, in relevant part, that “[m]any
23

24   of the techniques utilized in the development of our product candidates have been
25   developed by Dr. Serhat Gümrükcü”; that “we rely on the services of Dr.
26
     Gümrükcü, and of [G-Tech] and [SRI], in the continued development of our
27

28

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           CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1   pipeline”; and that “[o]ur future performance will depend on our ability to retain
 2
     the services of Dr. Gümrükcü, [G-Tech] and [SRI].”
 3

 4          34.    With respect to Enochian’s consulting agreements with Gumrukcu and

 5   G-Tech, and the purported benefits that the Company derived from the transfer of
 6
     their knowledge, technology, and services for the treatment of HIV, the 2020 10-K
 7

 8   stated, inter alia:

 9          On July 9, 2018, the Company entered into a consulting agreement with
10          [G-Tech] to assist the Company with the development of the gene
            therapy and cell therapy modalities for the prevention, treatment,
11          amelioration of HIV in humans, and with the development of a
12          genetically enhanced Dendritic Cell for use as a wide spectrum
            platform for various diseases (including but not limited to cancers and
13          infectious diseases) (the “G-Tech Agreement”). G-Tech was entitled to
14          consulting fees for 20 months, with a monthly consulting fee of not
            greater than $130,000 per month. Upon the completion of the 20
15          months, the monthly consulting fee of $25,000 continued for scientific
16          consulting and knowledge transfer on existing HIV experiments, and
            will continue until the services are no longer rendered or the agreement
17          is terminated . . . . For the years ended June 30, 2020 and 2019,
18          $1,125,000 and $1,500,000, respectively, was charged to research and
            development expenses in our Consolidated Statements of Operations
19          related to this consulting agreement.
20
            35.    The 2020 10-K also stated that “[o]n January 31, 2020, the Company
21

22   entered into a Statement of Work & License Agreement . . . by and among the
23   Company, G Tech, and [SRI]” and that as a result of this agreement, the Company
24
     “acquired a perpetual, sublicensable, exclusive license . . . for a treatment under
25

26   development . . . aimed to treat [HBV] infections[.]”
27

28

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 1         36.    Appended as exhibits to the 2020 10-K were signed certifications
 2
     pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”), wherein Defendants Dybul
 3

 4   and Puche certified that “[t]he [2020 10-K] fully complies with the requirements of

 5   Section 13(a) or 15(d), as applicable, of the [Exchange Act], and” that “[t]he
 6
     information contained in the [2020 10-K] fairly presents, in all material respects,
 7

 8   the financial condition and results of operations of the Company at the dates and for

 9   the periods indicated.”
10
           37.    On October 28, 2020, Enochian filed an amended annual report on
11

12   Form 10-K/A with the SEC—signed by Defendants Dybul, Puche, Sindlev,

13   Grønfeldt-Sørensen, Sandler, D’An, Alton, and Brosgart—amending the
14
     Company’s 2020 10-K, which contained substantively the same statements as
15

16   referenced in ¶¶ 34-35, supra, regarding Enochian’s consulting and licensing
17   agreements with G Tech and SRI in connection with the treatment of HIV and HBV.
18
           38.    On September 24, 2021, Enochian filed an annual report on Form 10-
19
20   K with the SEC—signed by Defendants Dybul, Puche, Sindlev, Grønfeldt-
21   Sørensen, Sandler, Alton, McNicol, Sapirstein, and Brosgart—reporting the
22
     Company’s financial and operational results for the Company’s fourth fiscal quarter
23

24   and year ended June 30, 2021 (the “2021 10-K”).              That filing contained
25   substantively the same statements as referenced in ¶¶ 32-35, supra, regarding the
26
     use and application of Enochian’s purported genetically modified cellular and
27

28   immune-therapy technologies, Gumrukcu’s importance to Enochian’s product
                                              11
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 1   pipeline and business prospects, and the Company’s related consulting and
 2
     licensing agreements with G Tech and SRI.
 3

 4         39.    The 2021 10-K also discussed Enochian’s entry into a consulting a

 5   license agreement with G Tech and SRI for the treatment of influenza and
 6
     coronavirus infections, stating, in relevant part:
 7

 8         On April 18, 2021, the Company entered into a Statement of Work and
           License Agreement (the “License Agreement”), by and among the
 9         Company, G Tech and SRI, whereby the Company acquired a perpetual
10         sublicensable, exclusive license (the “Development License”) to
           research, develop, and commercialize certain formulations which are
11         aimed at preventing and treating pan-coronavirus or the potential
12         combination of the pan-coronavirus and pan-influenza, including the
           SARS-coronavirus that causes COVID-19 and pan-influenza (the
13         “Prevention and Treatment”).
14
           The License Agreement was entered into pursuant to the existing
15         Framework Agreement between the parties dated November 15, 2019.
16         The License Agreement states that in consideration for the
           Development License, the Company shall provide cash funding for
17         research costs and equipment and certain other in-kind funding related
18         to the Prevention and Treatment over a 24-month period. Additionally,
           the License Agreement provides for an up-front payment of $10 million
19         and a $760,000 payment for expenditures to date prior to the effective
20         date related to research towards the Prevention and Treatment within
           60 days of April 18, 2021. The License Agreement provides for
21         additional payments upon the occurrence of certain benchmarks in the
22         development of the technology set forth in the License Agreement, in
           each case subject to the terms of the License Agreement.
23

24         The License Agreement provides for cooperation related to the
           development of intellectual property related to the Prevention and
25         Treatment and for a 3% royalty to G Tech on any net sales that may
26         occur under the License Agreement. As of June 30, 2021, the Company
           paid the $10 million up-front payment, and the $760,000 related to prior
27         research costs.
28

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 1          40.    Additionally, the 2021 10-K discussed Enochian’s entry into a patent
 2
     license and research funding agreement with Gumrukcu for the treatment of HIV,
 3

 4   stating, in relevant part:

 5          On August 25, 2021, the Company entered into an ALC Patent License
 6          and Research Funding Agreement in the HIV Field (the “ALC License
            Agreement”) with Dr. Gumrukcu and SRI whereby Dr. Gumrukcu
 7          granted the Company an exclusive, worldwide, perpetual, fully paid-
 8          up, royalty-free license, with the right to sublicense, his proprietary
            technology subject to a U.S. patent application, to make, use, offer to
 9          sell, sell or import products for use solely for the prevention, treatment,
10          amelioration of or therapy exclusively for HIV in humans, and research
            and development exclusively relating to HIV in humans; provided Dr.
11          Gumrukcu retained the right to conduct HIV research in the field . . . .
12          The Company made an initial payment to SRI of $600,000 and agreed
            to fund future HIV research conducted by Dr. Gumrukcu and SRI, as
13          mutually agreed to by the parties. Our current product candidate under
14          this license is ENOB-HV-21: HIV Natural Killer and Gamma Delta T
            Cell Treatment or Cure.
15

16          41.    In addition, the 2021 10-K stated that “[o]ur co-founder and inventor,
17   Dr. Serhat Gumrukcu, who is also the Director of [SRI], submitted [a] Pre-IND
18
     [Investigational New Drug application] for ENOB-HV-21 an innovative treatment
19
20   of Natural Killer (NK) and Gamma Delta T-Cells (GDT) collected from another
21   person” for the treatment of HIV; that “[i]t is believed that the GDT cells, a small
22
     subset of immune cells that can be infected with HIV, could be a key factor in
23

24   controlling the virus”; and that “Enochian BioSciences has an exclusive license to
25   use the underlying patent to develop HV-21 for the prevention, treatment, and/or
26
     amelioration of and/or therapy exclusively for HIV in humans, and research and
27

28   development exclusively relating to HIV in humans.”
                                                13
            CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1         42.     Appended as exhibits to the 2021 10-K were substantively the same
 2
     SOX certifications as referenced in ¶ 36, supra, signed by Defendants Dybul and
 3

 4   Puche.

 5         43.     On October 28, 2021, Enochian filed an amended annual report on
 6
     Form 10-K/A with the SEC—signed by Defendants Dybul and Puche—amending
 7

 8   the Company’s 2021 10-K, which contained substantively the same statements as

 9   referenced in ¶¶ 34-35 and 39, supra, regarding Enochian’s consulting and licensing
10
     agreements with G Tech and SRI.
11

12         44.     The statements referenced in ¶¶ 32-43 were materially false and

13   misleading because Defendants made false and/or misleading statements, as well as
14
     failed to disclose material adverse facts about the Company’s business, operations,
15

16   and compliance policies. Specifically, Defendants made false and/or misleading
17   statements and/or failed to disclose that: (i) Gumrukcu was not a licensed doctor
18
     and had no verifiable degrees beyond high school; (ii) accordingly, the scientific
19
20   and technological underpinnings of Enochian’s product pipeline, purportedly
21   invented by Gumrukcu, were dubious at best; (iii) as such, the Defendants had
22
     significantly overstated the commercial prospects for the Company’s product
23

24   pipeline; (iv) Enochian’s senior leadership knew Gumrukcu had a criminal history
25   that included fraud; (v) accordingly, Enochian’s reliance on Gumrukcu, and its
26
     consulting and licensing agreements with G-Tech and SRI, subjected the Company
27

28   to a heightened risk of reputational and financial harm, as well as threatened the
                                              14
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 1   integrity of the Company’s scientific findings; and (vi) as a result, the Company’s
 2
     public statements were materially false and misleading at all relevant times.
 3

 4                             The Truth Begins to Emerge

 5         45.    On May 25, 2022, the DOJ issued a press release announcing that
 6
     Gumrukcu had been arrested and charged in a murder-for-hire conspiracy, stating,
 7

 8   in relevant part:

 9         The Office of the United States Attorney for the District of Vermont
10         stated that Serhat Gumrukcu, 39, of Los Angeles, California . . . w[as]
           arrested yesterday after having been charged by a federal grand jury in
11         Vermont with conspiring to use interstate commerce facilities in the
12         commission of murder-for-hire which resulted in the death of Gregory
           Davis, a resident of Danville, Vermont.
13

14         Gumrukcu is expected to appear later today in the United States District
           Court for the Central District of California.
15

16                                           ***
17         If convicted, Gumrukcu . . . face[s] mandatory life in prison or the death
18         penalty.
19         46.    On this news, Enochian’s stock price fell $2.17 per share, or 36.97%,
20
     to close at $3.70 per share on May 25, 2022. Despite this decline in the Company’s
21

22   stock price, Enochian securities continued to trade at artificially inflated prices
23   throughout the remainder of the Class Period because of Defendants’ continued
24
     misrepresentations and omissions regarding Gumrukcu’s credentials and criminal
25

26   history, and the attendant risks to Enochian’s product pipeline, business prospects,
27   and reputation.
28

                                              15
            CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1          47.    For example, also on May 25, 2022, during after-market hours,
 2
     Enochian issued a press release acknowledging Gumrukcu’s criminal charges,
 3

 4   stating, inter alia, that “[t]he Board has verified that the incident leading to the arrest

 5   occurred prior to the merger which created the Enochian of today, and is completely
 6
     unrelated to the Company”; that “[t]he Board reviewed the important scientific
 7

 8   discoveries of the inventor and the Company’s rights with regards to those

 9   discoveries, which will be unchanged”; that “[t]he Board confirmed that . . .
10
     Gumrukcu has had no formal role in the Company, and has no involvement with
11

12   the Company’s strong management, scientific team and collaborations with leaders

13   in the field”; and that, “[t]herefore, the Board strongly affirms its confidence in the
14
     Company’s promising future[.]”
15

16          48.    The same May 25, 2022 press release also stressed the Board’s
17   “unanimous and strong affirmation of the current position of the Company, the
18
     Management and the promising advancement of the Research and Development
19
20   pipeline[,]” which “follows the unexpected and shocking press release by the
21   [DOJ,]” and that “[t]he Board reviewed what is known and concluded without
22
     reservation that there is no link between the criminal charges and any actions of the
23

24   Company.”
25          49.    Enochian’s May 25, 2022 press release also quoted Defendant Dybul,
26
     who stated, in relevant part:
27

28

                                                 16
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 1         The profound potential of the scientific ideas, and the promising pre-
 2         clinical and in certain cases clinical data have not changed. We are fully
           committed to advancing, and in fact, accelerating, the development of
 3         potential commercial products that could potentially save and lift-up
 4         many millions of lives. The personal life of the inventor and co-founder
           does not alter those fundamental facts. Indeed, there has never been a
 5         formal role for Dr. Gumrukcu in the Company and his remaining
 6         informal role as a scientific advisor has concluded.

 7         50.    The statements referenced in ¶¶ 47-49 were materially false and
 8
     misleading because Defendants made false and/or misleading statements, as well as
 9

10   failed to disclose material adverse facts about the Company’s business, operations,

11   and compliance policies. Specifically, Defendants made false and/or misleading
12
     statements and/or failed to disclose that: (i) Gumrukcu was not a licensed doctor
13

14   and had no verifiable degrees beyond high school; (ii) the scientific and

15   technological underpinnings of Enochian’s product pipeline, purportedly invented
16
     by Gumrukcu, were dubious at best; (iii) accordingly, the Defendants had
17

18   significantly overstated the commercial prospects for the Company’s product
19   pipeline; (iv) Enochian’s senior leadership knew Gumrukcu had a criminal history
20
     that included fraud; (v) as such, Enochian’s reliance on Gumrukcu, and its
21

22   consulting and licensing agreements with G-Tech and SRI, subjected the Company
23   to a heightened risk of reputational and financial harm, as well as threatened the
24
     integrity of the Company’s scientific findings; and (vi) as a result, the Company’s
25

26   public statements were materially false and misleading at all relevant times.
27

28

                                              17
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 1                               The Truth Fully Emerges
 2
           51.    On June 1, 2022, Hindenburg published a report on Enochian entitled
 3

 4   “Miracle Cures and Murder For Hire: How A Spoon-Bending Turkish Magician

 5   Built A $600 Million Nasdaq-Listed Scam Based On A Lifetime Of Lies.” The
 6
     Hindenburg Report noted that the individual in whose murder Gumrukcu was
 7

 8   implicated, Gregory Davis, “was murdered . . . just 19 days before Gumrukcu was

 9   scheduled to appear in court to defend himself against felony fraud allegations
10
     related to a 2016 deal with Davis” and that “[f]ederal prosecutors argued that the
11

12   prospective merger deal that eventually resulted in Enochian going public served as

13   a key motive for the murder.” The Hindenburg Report also stated that
14
     “[u]nbeknownst to investors (but known to Enochian’s senior leadership)
15

16   Gumrukcu’s latest arrest for a murder conspiracy is simply the most recent in a
17   string of alleged crimes by Gumrukcu.”
18
           52.    For example, the Hindenburg Report detailed how Gumrukcu “was
19
20   arrested based on accusations of falsely posing as a doctor” in his native Turkey in
21   2012, with criminal charges still pending after Gumrukcu “fled Turkey despite an
22
     outstanding arrest warrant.”    The Hindenburg Report also detailed how “[i]n
23

24   February 2017, Gumrukcu was arrested by authorities after the State of California
25   accused him of a slew of white-collar crimes, including fraud, identity theft, and
26
     check kiting – a total of 14 felonies[,]” and that “on January 25, 2018, Gumrukcu .
27

28   . . pled guilty to one felony count of Second-Degree Commercial Burglary, per
                                              18
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 1   correspondence with California AG[,]” with Gumrukcu “placed on formal
 2
     probation for 5 years.” When Hindenburg staff questioned Enochian’s Chairman,
 3

 4   Defendant Sindlev, regarding whether he knew of Gumrukcu’s U.S. criminal

 5   history as far back as in 2018, Defendant Sindlev reportedly responded “[w]e did”
 6
     and “[w]hen asked why it was never disclosed to investors, Sindlev said court
 7

 8   records are public.” Moreover, according to the Hindenburg Report, “Enochian’s

 9   former CFO is currently embroiled in an undisclosed lawsuit with Enochian’s
10
     leadership, claiming he was fired for asking ‘critical questions’ about ‘serious
11

12   financial improprieties’ and large payments to Gumrukcu, and for questioning the

13   company’s close association with an individual accused of numerous felonies.”
14
           53.   The Hindenburg Report further stated that “[w]e have been unable to
15

16   find any jurisdiction in which Gumrukcu is licensed as a medical doctor” and that
17   “Gumrukcu looks to have purchased a fake Russian medical degree on the black
18
     market,” which is particularly troubling given that “[e]very product Enochian is
19
20   investigating appears to have been licensed to it by Gumrukcu-controlled or
21   affiliated entities or are otherwise based on his research.” The Hindenburg Report
22
     found that Gumrukcu “is unlicensed in California, where he has apparently been
23

24   practicing medicine anyway, and where he has claimed to have made his major
25   breakthroughs for Enochian.” The Hindenburg Report also found that, despite
26
     “Gumrukcu[’s] claims to have spent 12+ years earning an M.D. and multiple PhDs
27

28   in Russia and Turkey[,]” after contacting the schools Gumrukcu purportedly earned
                                             19
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 1   those degrees from, it appears that “he made it all up” and, indeed, “admitted to
 2
     [Turkish] police that his highest level of education was a high school degree, despite
 3

 4   the arrest taking place after the period where Gumrukcu claimed to have already

 5   been a doctor” (emphasis in original).
 6
           54.    In addition, the Hindenburg Report found that “[d]espite the
 7

 8   company’s claims that top scientists are still behind the research, many are already

 9   backing away.” For example, the Hindenburg Report cited “[a]n international
10
     cancer doctor that Gumrukcu claimed was his mentor” who “told us a picture of
11

12   him on the website for Gumrukcu’s research entity, [SRI], is a fake: ‘I never wore

13   a Seraph coat. It’s a forgery.’ ‘I never wore (a) Seraph coat as shown in the picture,
14
     so how could I validate his science?’” The Hindenburg Report also cited “[a]
15

16   world-renowned microbiologist who briefly served on Enochian’s Scientific
17   Advisory Board and was previously quoted by Enochian as saying he was ‘blown
18
     away’ by Gumrukcu’s ‘brilliant creativity’” who told Hindenburg: “I agree
19
20   retrospectively I should have done some due-diligence” and that, regarding the
21   validity of the science, “I have never validated anything, and they should not use
22
     my name.” Likewise, the Hindenburg Report cited a former Enochian senior
23

24   executive that told Hindenburg “I left because I lost scientific trust in what
25   [Gumrukcu] was promoting . . . I had a few facts that corroborated that he lied to
26
     me and when scientists start to lie a little bit and massage the data, then I am afraid
27

28   to have another Elizabeth Holmes story” (alteration and omission in original).
                                               20
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 1         55.    Following publication of the Hindenburg Report, Enochian’s stock
 2
     price fell $1.495 per share, or 28.42%, to close at $3.765 per share on June 1, 2022.
 3

 4         56.    As a result of Defendants’ wrongful acts and omissions, and the

 5   precipitous decline in the market value of the Company’s securities, Plaintiff and
 6
     other Class members have suffered significant losses and damages.
 7

 8                             Post-Class Period Developments

 9         57.    On July 1, 2022, Enochian issued a press release announcing findings
10
     from an internal review of the scientific data backing its product pipeline. That
11

12   press release stated, in relevant part:

13         In recent days, Enochian . . . has conducted a rigorous internal review
14         of scientific data to give partners and investors a clear understanding of
           the Company’s pipelines.
15

16                                             ***
17         [D]uring the review, the Company discovered that former scientific
18         advisor Serhat Gumrukçu altered two different sets of animal data
           generated by third-party research institutions before Enochian’s
19         scientists had a chance to review. One data set was for an inhaled
20         COVID-19 treatment study while the other was for an HBV therapy
           study. As a result, the Company will initiate legal action against
21         Gumrukçu over the falsified data.
22
           While the investigation verified the source and scientific foundation of
23         the HIV and cancer pipelines, and certain data from the COVID-19 and
24         HBV pipelines, the Company is extremely concerned and disappointed
           to learn that non-clinical data for those two pipelines were altered. The
25         Company is evaluating its internal controls regarding the review and
26         verification of external scientific data and will modify as appropriate.
27

28

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 1                  PLAINTIFF’S CLASS ACTION ALLEGATIONS
 2
           58.    Plaintiff brings this action as a class action pursuant to Federal Rule of
 3

 4   Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who

 5   purchased or otherwise acquired Enochian securities during the Class Period (the
 6
     “Class”); and were damaged upon the revelation of the alleged corrective
 7

 8   disclosures. Excluded from the Class are Defendants herein, the officers and

 9   directors of the Company, at all relevant times, members of their immediate families
10
     and their legal representatives, heirs, successors or assigns and any entity in which
11

12   Defendants have or had a controlling interest.

13         59.    The members of the Class are so numerous that joinder of all members
14
     is impracticable. Throughout the Class Period, Enochian securities were actively
15

16   traded on the NASDAQ. While the exact number of Class members is unknown to
17   Plaintiff at this time and can be ascertained only through appropriate discovery,
18
     Plaintiff believes that there are hundreds or thousands of members in the proposed
19
20   Class. Record owners and other members of the Class may be identified from
21   records maintained by Enochian or its transfer agent and may be notified of the
22
     pendency of this action by mail, using the form of notice similar to that customarily
23

24   used in securities class actions.
25         60.    Plaintiff’s claims are typical of the claims of the members of the Class
26
     as all members of the Class are similarly affected by Defendants’ wrongful conduct
27

28   in violation of federal law that is complained of herein.
                                               22
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 1         61.       Plaintiff will fairly and adequately protect the interests of the members
 2
     of the Class and has retained counsel competent and experienced in class and
 3

 4   securities litigation. Plaintiff has no interests antagonistic to or in conflict with

 5   those of the Class.
 6
           62.       Common questions of law and fact exist as to all members of the Class
 7

 8   and predominate over any questions solely affecting individual members of the

 9   Class. Among the questions of law and fact common to the Class are:
10
                 •    whether the federal securities laws were violated by Defendants’ acts
11                    as alleged herein;
12
                 •    whether statements made by Defendants to the investing public
13                    during the Class Period misrepresented material facts about the
14                    business, operations and management of Enochian;
15
                 •    whether the Individual Defendants caused Enochian to issue false
16                    and misleading financial statements during the Class Period;
17
                 •    whether Defendants acted knowingly or recklessly in issuing false
18                    and misleading financial statements;
19
                 •    whether the prices of Enochian securities during the Class Period
20                    were artificially inflated because of the Defendants’ conduct
21
                      complained of herein; and

22               •    whether the members of the Class have sustained damages and, if so,
23                    what is the proper measure of damages.

24         63.       A class action is superior to all other available methods for the fair and
25
     efficient adjudication of this controversy since joinder of all members is
26
27   impracticable. Furthermore, as the damages suffered by individual Class members

28

                                                  23
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 1   may be relatively small, the expense and burden of individual litigation make it
 2
     impossible for members of the Class to individually redress the wrongs done to
 3

 4   them. There will be no difficulty in the management of this action as a class action.

 5         64.       Plaintiff will rely, in part, upon the presumption of reliance established
 6
     by the fraud-on-the-market doctrine in that:
 7

 8               •    Defendants made public misrepresentations or failed to disclose
                      material facts during the Class Period;
 9

10               •    the omissions and misrepresentations were material;
11
                 •    Enochian securities are traded in an efficient market;
12
                 •    the Company’s shares were liquid and traded with moderate to heavy
13
                      volume during the Class Period;
14
                 •    the Company traded on the NASDAQ and was covered by multiple
15
                      analysts;
16

17               •    the misrepresentations and omissions alleged would tend to induce a
                      reasonable investor to misjudge the value of the Company’s
18                    securities; and
19
                 •    Plaintiff and members of the Class purchased, acquired and/or sold
20                    Enochian securities between the time the Defendants failed to
21                    disclose or misrepresented material facts and the time the true facts
                      were disclosed, without knowledge of the omitted or misrepresented
22                    facts.
23
           65.       Based upon the foregoing, Plaintiff and the members of the Class are
24

25   entitled to a presumption of reliance upon the integrity of the market.
26         66.       Alternatively, Plaintiff and the members of the Class are entitled to the
27
     presumption of reliance established by the Supreme Court in Affiliated Ute Citizens
28

                                                  24
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 1   of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as
 2
     Defendants omitted material information in their Class Period statements in
 3

 4   violation of a duty to disclose such information, as detailed above.

 5                                         COUNT I
 6
     (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
 7                        Thereunder Against All Defendants)
 8
           67.    Plaintiff repeats and re-alleges each and every allegation contained
 9

10   above as if fully set forth herein.

11         68.    This Count is asserted against Defendants and is based upon Section
12
     10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
13

14   thereunder by the SEC.

15         69.    During the Class Period, Defendants engaged in a plan, scheme,
16
     conspiracy and course of conduct, pursuant to which they knowingly or recklessly
17

18   engaged in acts, transactions, practices and courses of business which operated as a
19   fraud and deceit upon Plaintiff and the other members of the Class; made various
20
     untrue statements of material facts and omitted to state material facts necessary in
21

22   order to make the statements made, in light of the circumstances under which they
23   were made, not misleading; and employed devices, schemes and artifices to defraud
24
     in connection with the purchase and sale of securities. Such scheme was intended
25

26   to, and, throughout the Class Period, did: (i) deceive the investing public, including
27   Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and
28

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 1   maintain the market price of Enochian securities; and (iii) cause Plaintiff and other
 2
     members of the Class to purchase or otherwise acquire Enochian securities and
 3

 4   options at artificially inflated prices. In furtherance of this unlawful scheme, plan

 5   and course of conduct, Defendants, and each of them, took the actions set forth
 6
     herein.
 7

 8         70.    Pursuant to the above plan, scheme, conspiracy and course of conduct,

 9   each of the Defendants participated directly or indirectly in the preparation and/or
10
     issuance of the quarterly and annual reports, SEC filings, press releases and other
11

12   statements and documents described above, including statements made to securities

13   analysts and the media that were designed to influence the market for Enochian
14
     securities. Such reports, filings, releases and statements were materially false and
15

16   misleading in that they failed to disclose material adverse information and
17   misrepresented the truth about Enochian’s finances and business prospects.
18
           71.     By virtue of their positions at Enochian, Defendants had actual
19
20   knowledge of the materially false and misleading statements and material omissions
21   alleged herein and intended thereby to deceive Plaintiff and the other members of
22
     the Class, or, in the alternative, Defendants acted with reckless disregard for the
23

24   truth in that they failed or refused to ascertain and disclose such facts as would
25   reveal the materially false and misleading nature of the statements made, although
26
     such facts were readily available to Defendants. Said acts and omissions of
27

28   Defendants were committed willfully or with reckless disregard for the truth. In
                                              26
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 1   addition, each Defendant knew or recklessly disregarded that material facts were
 2
     being misrepresented or omitted as described above.
 3

 4         72.    Information showing that Defendants acted knowingly or with reckless

 5   disregard for the truth is peculiarly within Defendants’ knowledge and control. As
 6
     the senior managers and/or directors of Enochian, the Individual Defendants had
 7

 8   knowledge of the details of Enochian’s internal affairs.

 9         73.    The Individual Defendants are liable both directly and indirectly for
10
     the wrongs complained of herein. Because of their positions of control and
11

12   authority, the Individual Defendants were able to and did, directly or indirectly,

13   control the content of the statements of Enochian. As officers and/or directors of a
14
     publicly-held company, the Individual Defendants had a duty to disseminate timely,
15

16   accurate, and truthful information with respect to Enochian’s businesses,
17   operations, future financial condition and future prospects. As a result of the
18
     dissemination of the aforementioned false and misleading reports, releases and
19
20   public statements, the market price of Enochian securities was artificially inflated
21   throughout the Class Period.      In ignorance of the adverse facts concerning
22
     Enochian’s business and financial condition which were concealed by Defendants,
23

24   Plaintiff and the other members of the Class purchased or otherwise acquired
25   Enochian securities at artificially inflated prices and relied upon the price of the
26
     securities, the integrity of the market for the securities and/or upon statements
27

28   disseminated by Defendants, and were damaged thereby.
                                              27
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 1         74.    During the Class Period, Enochian securities were traded on an active
 2
     and efficient market. Plaintiff and the other members of the Class, relying on the
 3

 4   materially false and misleading statements described herein, which the Defendants

 5   made, issued or caused to be disseminated, or relying upon the integrity of the
 6
     market, purchased or otherwise acquired shares of Enochian securities at prices
 7

 8   artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the other

 9   members of the Class known the truth, they would not have purchased or otherwise
10
     acquired said securities, or would not have purchased or otherwise acquired them
11

12   at the inflated prices that were paid. At the time of the purchases and/or acquisitions

13   by Plaintiff and the Class, the true value of Enochian securities was substantially
14
     lower than the prices paid by Plaintiff and the other members of the Class. The
15

16   market price of Enochian securities declined sharply upon public disclosure of the
17   facts alleged herein to the injury of Plaintiff and Class members.
18
           75.    By reason of the conduct alleged herein, Defendants knowingly or
19
20   recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act
21   and Rule 10b-5 promulgated thereunder.
22
           76.    As a direct and proximate result of Defendants’ wrongful conduct,
23

24   Plaintiff and the other members of the Class suffered damages in connection with
25   their respective purchases, acquisitions and sales of the Company’s securities
26
     during the Class Period, upon the disclosure that the Company had been
27

28   disseminating misrepresented financial statements to the investing public.
                                               28
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 1                                        COUNT II
 2
        (Violations of Section 20(a) of the Exchange Act Against the Individual
 3                                     Defendants)
 4
           77.    Plaintiff repeats and re-alleges each and every allegation contained in
 5

 6   the foregoing paragraphs as if fully set forth herein.

 7         78.    During the Class Period, the Individual Defendants participated in the
 8
     operation and management of Enochian, and conducted and participated, directly
 9

10   and indirectly, in the conduct of Enochian’s business affairs. Because of their senior

11   positions, they knew the adverse non-public information about Enochian’s
12
     misstatement of income and expenses and false financial statements.
13

14         79.    As officers and/or directors of a publicly owned company, the

15   Individual Defendants had a duty to disseminate accurate and truthful information
16
     with respect to Enochian’s financial condition and results of operations, and to
17

18   correct promptly any public statements issued by Enochian which had become
19   materially false or misleading.
20
           80.    Because of their positions of control and authority as senior officers,
21

22   the Individual Defendants were able to, and did, control the contents of the various
23   reports, press releases and public filings which Enochian disseminated in the
24
     marketplace during the Class Period concerning Enochian’s results of operations.
25

26   Throughout the Class Period, the Individual Defendants exercised their power and
27   authority to cause Enochian to engage in the wrongful acts complained of herein.
28

                                               29
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 1   The Individual Defendants, therefore, were “controlling persons” of Enochian
 2
     within the meaning of Section 20(a) of the Exchange Act. In this capacity, they
 3

 4   participated in the unlawful conduct alleged which artificially inflated the market

 5   price of Enochian securities.
 6
           81.    Each of the Individual Defendants, therefore, acted as a controlling
 7

 8   person of Enochian. By reason of their senior management positions and/or being

 9   directors of Enochian, each of the Individual Defendants had the power to direct the
10
     actions of, and exercised the same to cause, Enochian to engage in the unlawful acts
11

12   and conduct complained of herein. Each of the Individual Defendants exercised

13   control over the general operations of Enochian and possessed the power to control
14
     the specific activities which comprise the primary violations about which Plaintiff
15

16   and the other members of the Class complain.
17         82.    By reason of the above conduct, the Individual Defendants are liable
18
     pursuant to Section 20(a) of the Exchange Act for the violations committed by
19
20   Enochian.
21                               PRAYER FOR RELIEF
22
           WHEREFORE, Plaintiff demands judgment against Defendants as follows:
23

24         A.     Determining that the instant action may be maintained as a class action
25   under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as
26
     the Class representative;
27

28

                                              30
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 1         B.     Requiring Defendants to pay damages sustained by Plaintiff and the
 2
     Class by reason of the acts and transactions alleged herein;
 3

 4         C.     Awarding Plaintiff and the other members of the Class prejudgment

 5   and post-judgment interest, as well as their reasonable attorneys’ fees, expert fees
 6
     and other costs; and
 7

 8         D.     Awarding such other and further relief as this Court may deem just and

 9   proper.
10
                            DEMAND FOR TRIAL BY JURY
11

12         Plaintiff hereby demands a trial by jury.

13   Dated: July 26, 2022                          Respectfully submitted,
14

15                                                 POMERANTZ LLP
16                                                 /s/ Jennifer Pafiti
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26
27

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